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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF NEW YORK
                            No. 1:22-cv-10599-PAE

 AVI & CO NY CORP.,

        Plaintiff,

 v.                                                 AMENDED CORPORATE
                                                   DISCLOSURE STATEMENT
 CHANNELADVISOR CORPORATION,

       Defendant.


      Pursuant to Rule 7.1(a)(1)(2)(A) of the Federal Rules of Civil Procedure,

ChannelAdvisor Corporation states, through counsel, that (i) ChannelAdvisor

Corporation is a Delaware corporation with its principal place of business in North

Carolina; and (ii) there is no other individual or entity whose citizenship is attributed

to ChannelAdvisor Corporation.         ChannelAdvisor Corporation has a parent

corporation (CommerceHub, Inc.), but its citizenship is not attributed to

ChannelAdvisor Corporation.

                                         This the 19th day of December, 2022.

                                         MORNINGSTAR LAW GROUP


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                                         Attorney for ChannelAdvisor Corporation
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                           CERTIFICATE OF SERVICE

      The undersigned hereby certifies that a copy of the foregoing Amended

Corporate Disclosure Statement was this day served by filing the document

electronically via the CM/ECF system, which will send notification of such filing to

the following participants:

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             Attorney for the Plaintiff


                                          This the 19th day of December, 2022.




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